          Case 18-17321-btb         Doc 22     Entered 03/22/19 18:00:05   Page 1 of 1
NVB 3022 (Rev. 2/16)


                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEVADA


 IN RE:                                                  BK−18−17321−btb
                                                         CHAPTER 7
 CAROL THATCHER


                                   Debtor(s)             FINAL DECREE




The estate of the debtor(s) having been fully administered,

IT IS ORDERED that LENARD E. SCHWARTZER is discharged as trustee of the estate.

This Chapter 7 case is closed.




Dated: 3/22/19


                                                     Mary A. Schott
                                                     Clerk of Court
